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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA

                      Plaintiff,

 v.                                                   Case No. 07-20076
                                                               16-12439
 DUJUAN KENNEDY,

                      Defendant.
                                         /

      ORDER DENYING PETITIONER’S MOTION TO VACATE SENTENCE, AND
                DENYING CERTIFICATE OF APPEALABILITY

        Pending before the court is a Motion to Vacate Sentence (Dkt. #527) filed pro se

 by Petitioner Dujuan Kennedy. Petitioner also filed an addendum which he titled

 “2255(f)(3 Habeas Corpus Motion,” but which only supplements the previous motion

 with additional case law. (Dkt. #534.) The court will therefore consider the second

 “motion” as if it had been included in the first. Following Petitioner’s addendum, the

 Government filed a response (Dkt. #544) and Petitioner filed a reply (Dkt. #546). After

 reviewing the briefs, the court concludes that no hearing is necessary. For the following

 reasons, the court will deny Petitioner’s motion.

                                     I. BACKGROUND

        Petitioner pled guilty to a number of marijuana and “crack” cocaine offenses

 resulting in a sentence of 79 months’ imprisonment on August 6, 2007. (Dkt. #154.) The

 court later issued an order which reduced his offense level and lowered his sentence to

 66 months on June 8, 2009. On June 28, 2016, Petitioner filed the instant motion

 seeking to vacate his sentence in light of Johnson v. United States, 135 S. Ct. 2551
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 (2015), and United States v. Blewett, 746 F.3d 647 (6th Cir. 2013)(en banc), on the

 basis that a further reduction in the base offense level is warranted resulting in a much

 lower sentencing range of 30 to 37 months. He also argues that he is entitled to a

 sentence which reflects a reduced level of culpability.

        In response the Government argues that his petition is not timely, that Johnson

 –which dealt with whether a firearm violation could be used in a sentencing

 determination that a defendant is a career criminal– is inapplicable because Kennedy

 was not adjudged a career criminal, and that Blewett held that changes to the operative

 mandatory minimum sentencing provisions do not apply in Kennedy’s case where he

 was sentenced before the Fair Sentencing Act. Petitioner’s reply contends that racial

 disparities in sentencing justify extending the favorable holding of Johnson to his case.

                                      II. DISCUSSION

        Title 28 U.S.C. § 2254(d), as amended by the Antiterrorism and Effective Death

 Penalty Act of 1996 (“AEDPA”), Pub. L. No. 104-132, 110 Stat. 1214, applies to all

 habeas petitions filed after its effective date, April 24, 1996, and imposes a one-year

 limitations period for habeas petitions. See 28 U.S.C. § 2244(d)(1). A prisoner must file

 a federal habeas corpus petition within one year of the “date on which the judgment

 became final by the conclusion of direct review or the expiration of the time for seeking

 such review.” 28 U.S.C. § 2244(d)(1)(A) & (D).

        Petitioner filed the instant motion on June 17, 2016. (Dkt. #527.) This is far more

 than one year after his judgment was entered in 2007 or even his resentencing in 2009.

 Petitioner argues that a motion may be timely if it is made within one year of the date

 that the right asserted was initially recognized by the Court, which he contends to be

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 June 26, 2015, the date that Johnson was decided. However, as Respondents note,

 Johnson is inapplicable since Petitioner was not sentenced as a career criminal. Even if

 Johnson were read to permit this very late filing, it does not justify a downward

 adjustment in Petitioner’s sentence. Petitioner’s motion is untimely and it will accordingly

 be denied.

                          III. CERTIFICATE OF APPEALABILITY

        Federal Rule of Appellate Procedure 22 provides that an appeal may not proceed

 unless a certificate of appealability (COA) is issued under 28 U.S.C. § 2253. Rule 11 of

 the Rules Governing Section 2255 Proceedings requires that a district court must “issue

 or deny a certificate of appealability when it enters a final order adverse to the

 applicant.” If the court issues a certificate, the court must state the specific issue or

 issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Rule 11, Rules

 Governing Section 2255 Proceedings.

        A certificate of appealability may issue “only if the applicant has made a

 substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

 Courts must either issue a certificate of appealability indicating which issues satisfy the

 required showing or provide reasons why such a certificate should not issue. 28 U.S.C.

 § 2253(c)(3); Fed. R. App. P. 22(b); In re Certificates of Appealability, 106 F.3d 1306,

 1307 (6th Cir. 1997). To receive a certificate of appealability, “a petitioner must show

 that reasonable jurists could debate whether (or, for that matter, agree that) the petition

 should have been resolved in a different manner or that the issues presented were

 adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S.

 322, 336 (2003) (internal quotes and citations omitted).

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           Reasonable jurists would not debate the court’s conclusion that the petition is

 untimely. The court denies a certificate of appealability.

                                                         IV. CONCLUSION

           IT IS ORDERED that Petitioner’s Motion to Vacate Sentence (Dkts. ##527, 534)

 is DENIED.

           IT IS FURTHER ORDERED that a certificate of appealability is DENIED.

                                                                   S/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
 Dated: April 3, 2017

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, April 3, 2017, by electronic and/or ordinary mail.

                                                                   S/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (810) 292-6521




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